  Case 0:22-cr-60121-RAR Document 1 Entered on FLSD Docket 05/26/2022 Page 1 of 6


 A0 91(Rtv.Q8/09) Cn'
                    mlnllComplzint
                                                                .                        -




                                  U M TED STATES D ISTRICT COURT
                                                         forthe
                                               SouthernDisd ctofFlorida
                 United StatesofAmerica                     )
                             V.                             )
                    Antheny Ri
                             vera,
                                                            ) CaseNo.y k c g,
                                                                            s
                                                                            J.g,
                                                                               g-g
                                                            )
                                                            )
                         Do ndantls)

                                               CRIM IN AT,C OM PLM NT
        1,thecomplainantin thiscase, statethatthefnllowing istrue to thebestofmy u owledgeand belief
 Onoraboutthedatets)of                   Mav25.2022            inthecountyof       .            Broward            in the
    southem         Districtof           Florlda        ,t
                                                         hedefendantts)violated:
           CodeSection                                              OfenseDescrt
                                                                               ption
Title 18,United StatesCode,               Thatthe defendantdid knowingly possessanyvisualdepictlon using any
Sedions2252(a)(4)(B)and(b)(2)             meansand fadli ty ofinterstate and forelgn commerca, thathad been shlpped
                                          and transported In interstate andforeign commerce by any means, includlng
                                          bycomputer,andthe pnssession ofsuch visualdepiction i   nvnlved the use Qf
                                          a minorengagedIn sexually expliGitconduct,asdefined in mtle 18, United
                                         StatesCode,Sections2252(a)(4)(B)and(b)(2).


        n iscriminalcomplaintisbased on thesefacts:
See attached amdavit




       W Continuedontheattachedsheet.


                                                                                  Com        nant:rslznature

                                                                           HSjSpeci
                                                                                  alAnentVanessa Juede -

                                                                                   Printednameandtltle
                                     b
Sworn to before meand signed '             nc .


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            #.
             g+-    *-
                                                                                       A #g:%'fgnature
City andstate:               FortLauderdaleu Florida                                                           A
                                                                                  Pr'
                                                                                    tntednameand dtle
Case 0:22-cr-60121-RAR Document 1 Entered on FLSD Docket 05/26/2022 Page 2 of 6




                    AFFIDAW T IN SUPPORT OF CRIM INAL COM PLAINT

          1,VanessaJuede,having been frstduly swom , do herebydeposeand stateasfollows:

                        INTRODUCTION AND AGENT BACKGROUND
          1.     1am a SpecialAgentwith United StatesImmigration and CustomsEnforcem ent

   (ICE),Homeland Security Investigations,FortLauderdale,Florida. 1have been employed asa
   SpecialAgentsinceOctober2002. Inm responsibleforinvestigationsofoffensesunderTitles8
                                                                                               ,

   12,19and 21oftheUnited StatesCode. Aspnrtofmy daily dutiesasa HSIagent Iinvestigate
                                                                        ,

   crim inalviolations relating to child exploitation and child pom ography including violations

   pertaining to theillegalproduction,distribution, receiptand possession ofchild pomography in
                                                                                            ,


   violationof18U.S.C.992252/),2252A,2251(a)and(e),and24221).Ihavereceivedlaining
   inthe are;ofchild pom ography andchildexploitation.

          2.     l have pm icipated in investigations involving pedophiles, preferential child

   molesters,andpersonswhocollectand/ordistributechildpomography, alongwiththeim portation

   and distribution ofm aterialsrelatingto thesexualexploitation ofchild- n. Ihavealso conducted
   severalchild pom ography and child exploitation investigations, which has involved reviewing

   severalform sofmedia,including computer.

         3.      ImakethisAm davitin supportofacriminalcomplaintchargingAnthonyRIVERA

  (4tR1VERA''),withpossessionofchildpomography,in'
                                                 violationofTitle 18,UnitedStatesCode,
  Section2252(a)(4)(B)and(b)(2).
                n einformation contained inthisAë davitisbased onmy personalknowledge, as
  wellasinformation relayed tom eby other1aw enforcem entagentsand om cersinvolved in this

  investigation.Ihavenotincludedin thisAë daviteach and tveryfactknown tom eortoothtrlaw

                                                1
Case 0:22-cr-60121-RAR Document 1 Entered on FLSD Docket 05/26/2022 Page 3 of 6




    enforcementom cerssurrounding thisinvestigation.Rather, Ihave includedonly thosefactsthatI
    believearenecessarytoestablish probablecause.

                                       PROBABLE CAUSE

           5.     lnFebruo 2022,HomelandSecurityInvestigation(HSI)FortLauderdalereceived
   three(3)Cybelipâom theNationalCenterofM issingExploitedChildren(NCMEC)thatGoogle
   Inc.reviewedthecontentsandidentifiedchildsexualabusematerial(CSAM)intheGoogle,Inc.
   accountofauseridentisedastonvminmis@m ail.com inaccordancewiththefederalstatuteson
   child pom ography.

          6.     Responsive recordsfrom Google,Inc. foremailaddresstonvminmis@m          ail.com
   listthesubscriberoftheaccountasM thony RIVERA . n erecovev phonenlzm berprovided for

   RIVERA,thesubscriberoftonvminmis@o a-il.com.is305-290-0221.Responsiverecordsfrom
   T-M obile forphone number305-290-0221 listthe subscriberinfo= ation asRIVERA with an

   addressof3751SW 45th AvenueW estPark,Florida33023,

          7.     Law enforcementreviewed the Cybertip imagesprovided by Oooglelnc, and two

   (2)videofleswereidentifeddepictingchildrentmdertheageofeighteen(18)engagedinsexual
   acts and/or the lascivious exhibition of their genitals, allof which are consistent with child

   pom ography.The sleswere located in RIVERA'SGoogleapplication on Janue 18, 2022.n e

   descriptionofthetwo(2)videosareasfollows:
                 A)     Video 1:CT-r T-169e07d36cnn70ffe.3sf66bb786McB#meixp2MGp5p
                        Description:Video depicl aprepubescentfemalebeing anally penetrated
                        by an adultm ale.

                 B)     Video 2:CT-RPT-604c37a9d11boo5359> 00cb0db663752c-m om -
                        pussy eating
                        Description:Video depictsaprepubescentmaleperform ing oralsex on an
                        adultfemale.
Case 0:22-cr-60121-RAR Document 1 Entered on FLSD Docket 05/26/2022 Page 4 of 6




           8.    Law enforcementsoughtandwasgranted a federalsearch warrantforRIVERA'S

   residenceandforRIVERA'SGoogleInc., account.lGooglelnc.,provided responsiverecordsto
   law enforcementevidencingthatRIVERA'SGoogleaccotmt,
                                                            tonvminmis@m ai,com,wascreated
   inJanuo 2013 andwasdisabled in Januo 2022.

                 On M ay 25,2022,law enforcementom cers executed the search warrantatthe
   RIVERA'S residence.RIVERA was present at the time of the execution. Law enforcement

   identifed electronic devicesconsisting ofa desktop computer, multiple cellulr telephones and

   tablets,whichwere seized forfnrt%eranalysis.

          10.    RIVERA was interviewed by 1aw enforcement, waived his M iranda rights and

   agreedtospeakwith law enforcem ent.Post-M iranda, RIVERA cov rm ed thathe istheownerof

   theemfladdresstonvmiamis@zmail.com.butstatedthatitwasdisabled,RIVERA advisedthat
   hiscurentemailistonvminmi4g@zmail.com.RIVERA providedthepasswordforhiscellphone
   tolaw enforcementandadvisedthathehadotherphonesinhispossessionw1t1:thesamepassword.

   A prelimino forensicreview ofRIVERA'SiphoneXsM ax cellulartelephone showedthatboth

   emailsftonymiamis@a ail.com and tonyminmi4g@cmail.com)were connected to the phone.
   Therewasan additionalemailofantonioriverao83@gmail.com aswell. RIVERA'SiphoneXs
   M ax had Instagram,Facebook,Google,M ega,Snapchatand Dropbox applicationsinstalled and

   linkedtoemailaddresstonvmilmls@gmail.com.Thephone alsocontainedadditionalindiciaof
   ownership suchasimagtsofRIVERA,PDF docum tntsofbankstattm entsbelongingtoRIVERA,
   insurancerenewalbelonging to RIVERA and aprescription medicinereflll.


   I22-MJ-6243-SNOW ,22-MM 244-SNOW
Case 0:22-cr-60121-RAR Document 1 Entered on FLSD Docket 05/26/2022 Page 5 of 6




                  Law enforcementalsoseizedandsearchedanadditionaliphone, 13ProM ax,Serial

   No.HDX7LSJOYQ.Inthesettingsofthatiphone,M VERA islistedasthe owner Thisiphone.



    13 Pro Max wasalso linked to the tonymiamis@gmail.com in the Instagram,Snapchatand
   Dropbox applications.In the Dropbox application, 1aw enforcementIocated child pom ography

   titlessuch 1s,RCP$''ç'young,''and ltchild 4.*'

          12.     Duringthe interview,RIVERA stated thatno one elsehasaccessto hisphoneor
   emailaddress. RIVERA also stated thatif1aw enforcem entdid Gnd child sexualabusem aterial

   (CSAM) in his phone,itwas not 'sintentional.''RIVERA admitted that he watched adult
   pom om phy,butclaimedthatsometimesCSAM andbestialitywould appearandhewoulddelete

   it.M VERA indicatedthathebelieveshemayhavehadm alwareonhisphoneandthatthemalware

   senthim theCSAM material.

          13.    Law enforcement conducted a prelimino     forensic analysis on the eleckonics

   seized from RIVERA.The fullforensic analysis remainspending. n e Apple iphoneXsM ax,

   M odelNo.M TSKZLL/A,bearing serialnumberFFNX88APKPHC, containedtwo(2)videosof

   childsexualabusematerial(CSAM).n evideosaredescribedasfollows:
                         A) File-Name:Adry8yo-fullmovie(2015).mp4
                            Descriotion:The video depictsan adultmale perform ing oralsex and
                            penekating thevaginaofanaked prepubescentfemale.

                         B) FileName:Tropicalcuties-Deli& Saragangbang.m#
                            Descriotion:The video depictsan adultmale perfo= ing oralsex and
                            penekatingthevaginaofanakedprepubescentfem ale.
Case 0:22-cr-60121-RAR Document 1 Entered on FLSD Docket 05/26/2022 Page 6 of 6




                                      CONCLUSION
         l4,    Basedupon theinfo= ationprovided above,Irespectfully subm itthatprobable

   causeexiststo believethatAnthony K vera(SIRIVERA''),did commita violation ofTitle 18,
   UnittdStatesCode,Section2252(a)(4)(B)and(b)(2).


   FURTH ER YOUR AFFIANTSA FFTN NOT.


                                              Respectfully submitted,



                                              VanessaJue ,SpecialAgent
                                              HomelandS curityInvestigations(HSI)




   swom ttand subscribed beforemetelephonically
   thisQ yloayofMay,2022.




   V TRICK M.HUNT
   UNITED STATES M AGISTRATE JUDGE
